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                                                                UNITED STATES DISTRICT COURT
                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                  CRIMINAL MINUTES - ARRAIGNMENT

Case Number: 2:07-CR-01048-VBF                                          Recorder: CS 12/10/2007                                 Date: 12/10/2007

Present: The Honorable Rosalyn M. Chapman, U.S. Magistrate Judge

Court Clerk: Terry R. Baker                                                              Assistant U.S. Attorney: Lamar Baker

United States of America v.                                 Attorney Present for Defendant(s)                  Language                 Interpreter
1) JAMES LANZO TURNER IV, aka
Blue                                                        4) ALAN EISNER
      FUGITIVE                                                    PANEL
2) DAVID COLE, JR.
      PREVIOUSLY ARRAIGNED
3) CHARLES LEROY TWYMAN, aka
Lee
      FUGITIVE
4) LASHAWN ANDREA LYNCH
      BOND-PRESENT
5) MIKE LNU
      FUGITIVE


PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE.

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendant pleads not guilty to all counts in the Indictment.

This case was previously assigned to the calendar of District Judge Valerie Baker Fairbank.
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 01/22/2008 at 8:30 A.M.
Defendant and counsel are ordered to appear before said judge at the time and date indicated.

Counsel are directed to contact Judge Fairbank's clerk within 1 week of a not guilty plea to schedule a status conference. Guilty pleas will not be taken at the
status conference.




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                                                                                                                                     Initials of Deputy Clerk: TRB
cc: Statistics Clerk, PSALA CJA Supv Attorney




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